                 Case 2:14-cr-00303-DC Document 26 Filed 07/17/15 Page 1 of 3


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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:14-CR-0303MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     SESAR PRADO, AND                   )
15
     RAMON GARCIA PRADO                 )
16                                      ) Date: 9-10-2015
                      Defendant.        ) Time: 9:00 a.m.
17
     ________________________________) Judge: Hon. Morrison C. England
18

19
            Plaintiff United States of America, by and through its counsel of record, and

20   defendants Sesar Prado and Ramon Prado, by and through their counsels of record,

21   hereby stipulate as follows:

22          1.      By previous order, this matter was set for status July 16, 2015.
23          2.      By this stipulation, defendant now moves to continue the status
24   conference until July 16, 2015, and to exclude time between July 16, 2015 and
25   September 10, 2015, under Local Code T4. Plaintiff does not oppose this request.
26          3.      The parties agree and stipulate, and request that the Court find the
27   following:
28   ///


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                 Case 2:14-cr-00303-DC Document 26 Filed 07/17/15 Page 2 of 3


 1
            a.      The government has represented that the discovery associated with this
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     case includes investigative reports, search warrant affidavits, judgment and commitment
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     records, CD’s and DVD’s, and RAP sheets of the defendants. All of this discovery has
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     been either produced directly to counsel and / or made available for inspection and
 5
     copying.
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            b.      Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolutions with
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     their clients. Counsel has also been continuing to engage in pre-trial negotiations with

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     the government and otherwise prepare for trial.

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            c.      Counsel for defendant believes that failure to grant the above-requested

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     continuance would deny her the reasonable time necessary for effective preparation,

13   taking into account the exercise of due diligence.

14          d.      The government does not object to the continuance.

15          e.      Based on the above-stated findings, the ends of justice served by
16   continuing the case as requested outweigh the interest of the public and the defendant in
17   a trial within the original date prescribed by the Speedy Trial Act.
18          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
19   § 3161, et seq., within which trial must commence, the time period of July 16, 2015 to
20   September 10, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
21   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
22   the Court at defendant’s request on the basis of the Court's finding that the ends of
23   justice served by taking such action outweigh the best interest of the public and the
24
     defendant in a speedy trial.
25
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                Case 2:14-cr-00303-DC Document 26 Filed 07/17/15 Page 3 of 3


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           4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 3
     from the period within which a trial must commence.
 4
     IT IS SO STIPULATED.
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 6
     Dated: July 13, 2015                            Respectfully submitted,
 7
                                                     /s/ Kelly Babineau
 8
                                                     KELLY BABINEAU
 9                                                   Attorney for Ramon Prado

10   Dated: July 13, 2015                            /s/ Dina Santos
11
                                                     DINA SANTOS
                                                     Attorney for Sesar Prado
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13
     Dated: July 13, 2015                            /s/ Michael McCoy
14                                                   MICHAEL MCCOY
                                                     Assistant U.S. Attorney
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16
                                           ORDER
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           IT IS SO ORDERED.
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     Dated: July 17, 2015
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